22-2714-CV
                               IN THE


   United States Court of Appeals
                    FOR THE SECOND CIRCUIT

                               >> >>
                   LETICIA FRANCINE STIDHUM,
                                                             Plaintiff-Appellee,
                                 v.

   HILLSIDE AUTO MALL, INC., ISHAQUE THANWALLA, JORY BARON,
RONALD M. BARON, ANDRIS GUZMAN, 161-10 HILLSIDE AUTO AVE, LLC,
                                                        Defendants-Appellants.



           On Appeal from the United States District Court
                for the Eastern District of New York




       BRIEF FOR DEFENDANTS-APPELLANTS



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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, the

undersigned counsel of record for Defendant-Appellants, 161-10 Hillside Auto Ave,

LLC d/b/a Hillside Auto Outlet, Hillside Auto Mall Inc. d/b/a Hillside Auto Mall,

state that there are no parent corporations or any publicly held corporation which

owns 10% or more of its respective stock.




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                            STATEMENT OF JURISDICTION

         The district court had subject matter jurisdiction in the underlying case

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 2000e, et seq. On September 15,

2022, the district court, Judge Hector Gonzalez (“Judge Gonzalez”), United States

District Court Judge for the Eastern District of New York in Case No. 1:21-cv-7163

(HG) (RLM), issued a memorandum & Order denying Defendants’ motion to

dismiss for failure to state a claim upon which relief can be granted. (A79-A87.)1

         Defendant-Appellants timely filed a notice of appeal from this order on

October 14, 2022. (A88.) This Court has appellate jurisdiction pursuant to 28

U.S.C. § 1291.

                              STATEMENT OF THE ISSUES

      • Did the lower court err in finding that a resultant decrease in take-home pay

in non-discretionary bonuses based on the volume of vehicles sold by an automobile

salesperson due to an increase in waiting time constitutes an adverse employment

action under Title VII of the Civil Rights Act of 1964?



      • Did the lower court err in finding that the complaint states a claim upon which

relief can be granted?




1
    “A” references are to the Joint Appendix filed with Defendant-Appellants’ brief.

                                                  1
                              STATEMENT OF THE CASE

      A.       Nature of the Case and Relevant Procedural History

      Plaintiff-Appellee Leticia Francine Stidhum (hereinafter “Plaintiff” or

“Stidhum”) commenced this case on December 29, 20212 asserting causes of action

under: (i) Title VII of the Civil Rights Act of 1964 (“Title VII”) and the Pregnancy

Discrimination Act of 1978 (“PDA”); (ii) disability discrimination under the New

York State Human Rights Law (“NYSHRL”); (iii) sex discrimination under the

NYSHRL; and (iv) pregnancy discrimination under the New York City Human

Rights Law (“NYCHRL”). (A2, A38-A54).

      On May 27, 2022, Defendants moved the district court by letter motion for a

pre-motion conference in anticipation of their motion to dismiss for failure to state

a claim upon which relief can be granted (A4, A7-9). Defendants argued there that

the complaint must be dismissed because Plaintiff fails to plead the existence of any

adverse employment action as she voluntarily resigned and because the other issues

she raises with her employment, i.e., waiting times, do not constitute adverse

employment actions (A8-9).




2
  Plaintiff previously filed a complaint on September 25, 2019, raising the same allegations. It was
dismissed by Order of the Hon. Rachel P. Kovner, U.S.D.J., without prejudice once Plaintiff
complied with her obligation to exhaust administrative remedies. (A41). Thereafter, Plaintiff
refiled her complaint. (Id.)

                                                 2
      On June 3, 2022, Plaintiff opposed and asserted that Defendants altered the

terms of her employment by “doubling and tripling the wait time of her customers,”

resulting in customers walking out, and because Plaintiff sold only a third of her

sales volume in previous months as a result.3 (A10-12). On the same day, the district

court set a briefing schedule in lieu of a pre-motion conference. (A4).

      On June 27, 2022, Defendants moved to dismiss. (A13-38). As relevant here,

Defendants argued that, because Plaintiff: (i) admits that she voluntarily quit her

employment; (ii) did not argue a constructive discharge; and (iii) cannot establish

that “longer wait times” constitute an adverse employment action under the law, her

claims under Title VII must be dismissed for failure to state a claim. (A26-27, A29-

31). In addition, Defendants argued that Plaintiff’s PDA claims must be dismissed

for the same reasons her Title VII claims should be dismissed. (A34-35). Finally,

Defendants argued that the district court should decline to exercise supplemental

jurisdiction over Plaintiff’s remaining state law claims. (A35-36).

      On July 18, 2022, Plaintiff opposed Defendants’ motion. (A55-70). There,

Plaintiff argued that she suffered an adverse employment action because she has pled

both “significantly diminished material responsibilities” when she was deprived

access to Dealertrack and suffered a decrease in her take-home pay. (A66).


3
  As will be further discussed below, the Complaint alleges that Plaintiff was paid a salary of
$300.00 per week, a “bonus” (commission, rather) of $150.00 per car sold, and five percent (5%)
of the price of any car sold which “had a price in excess of [$3,500.00] in commission.” (A43).

                                              3
        Plaintiff argued that the reduction in pay, including bonuses, is an adverse

employment action. She cited, among other cases, Todaro v. Siegel Fenchel &

Peddy4 and Davis v. New York City Dep’t of Educ.5 (A66-67).

        In Todaro, plaintiff’s salary was reduced shortly after the defendants learned

that Todaro was pregnant. (Id.) (emphasis added). In Davis, this Court held that the

district court erred in ruling that the denial or reduction of a discretionary bonus can

constitute an adverse employment action. (Id.) (emphasis added).

        Plaintiff also argued that the temporal proximity between the disclosure of her

pregnancy and taking away her access to Dealertrack was sufficiently close in time

to permit the inference that access was taken away because of her pregnancy. (A67-

68).

        In further support of their motion, Defendants argued in reply that lack of

access to a system like Dealertrack, which no other salespersons had access to, does

not constitute an adverse employment action. (A74-75).

        Defendants also argued that the elimination of speculative, potential future

opportunities is insufficient to establish an adverse employment action with respect

to her alleged reduction in bonuses. (A75).




4
    See No. 04-CIV.2939 (JS) (WDW), 2007 WL 9724583, at *15 (E.D.N.Y. Feb, 27, 2007).
5
    See 804 F.3d 231, 236 (2d Cir. 2015).

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        In addition, Defendants argued that the increased waiting times were not an

adverse employment action because Plaintiff did not automatically earn her bonus

once the Finance Department provided her customers numbers, and a customer could

decide not to purchase a vehicle for any number of reasons after receiving numbers

from the Finance Department. (A75-76).

        On September 15, 2022, Judge Gonzalez denied Defendants’ motion to

dismiss. (A79-87). The district court correctly found that Plaintiff’s deprivation of

access to Dealertrack was not an adverse employment action. (A85). However, the

court found that the decrease in Plaintiff’s take-home pay can constitute an adverse

employment action – and relied on this Court’s decision in Davis, supra, as well as

McKenna v. Santander Inv. Secs., Inc.,6 where a district court found that plaintiff

presented sufficient evidence to raise a question of fact as to whether defendants

discriminated against her as a result of her pregnancy by reducing her discretionary7

bonuses – in finding that Plaintiff has plausibly alleged that Defendants “decreased

her bonus” by “increasing the average wait time for her customers” after Plaintiff

announced her pregnancy, without doing the same to customers of her non-pregnant

workers, “thereby decreasing the number of sales she was able to make.” (A85).




6
    See No.: 21-cv-941, 2022 WL 2986588, at *9 (S.D.N.Y. Jul. 28, 2022).
7
 As will be further discussed infra, the district court failed to note that the decisions in Davis and
McKenna related to discretionary bonuses, whereas Plaintiff’s “bonuses” were not discretionary.

                                                  5
      The district court also found that Plaintiff met her minimal burden of pleading

an adverse employment action, and alleged sufficient facts to infer discriminatory

motivation for the alleged conduct. (A85-86).

      Finally, the district court denied Defendants’ motion to dismiss the NYCHRL

claim because Judge Gonzalez determined that the Title VII and NYSHRL claim

was sufficiently pled. (A86-87).

      On October 14, 2022, Defendant-Appellants timely appealed the memorandum

& Order to the United States Court of Appeals for the Second Circuit (Docket No.:

22-2714). (A88.)

      B.      Statement of Facts

      Stidhum is an adult female resident of the State of New York, and served as a

successful car salesperson who worked for a little over three (3) months at “Hillside

Auto.”8 (A41). Defendant Andris Guzman (“Guzman”) was an employee in the

Finance Department of Hillside Auto Outlet, where Plaintiff worked, and later

became a General Manager who supervised Plaintiff. (A42-43). Stidhum was hired

by Defendant Ishaque Thanwalla (“Thanwalla”) on or about May 20, 2018 after

being interviewed by him and another non-party employee. (A43).




8
 Notably, Plaintiff fails to allege whether she worked for both Hillside Auto Outlet and Hillside
Auto Mall.

                                               6
      When she was hired, her pay consisted of: (i) a salary of $300.00 per week; (ii)

a “bonus” (commission, rather) of $150.00 per car sold; and (iii) five percent (5%)

of the price of any car sold which “had a price in excess of [$3,500.00] in

commission.” (A43). In other words, other than her fixed $300.00 weekly salary,

Plaintiff’s pay depended on how many vehicles she sold and whether those vehicles

were sold at a certain profit margin.

      Guzman began working at Defendants’ dealership in August 2018 and

thereafter became a general manager who supervised Plaintiff. (A43). Stidhum

conclusorily alleges she was denied her commissions since August 2018 through the

end of her employment with Defendants. (A44).

      At some time prior to December 2018, Plaintiff was given “special trust” on

the basis of her exemplary work performance whereby Thanwalla provided Stidhum,

to the exclusion of all other salespersons,9 with his password to Dealertrack so that

she could assist the Finance Department with their duties. (A44). This is because

Guzman, whose responsibility was to perform the functions of the Finance

Department, frequently kept customers waiting longer than necessary, 10 “creating

poor customer impressions” of Defendants’ service. (Id.)


9
  Such special treatment eviscerates any notion that discrimination played any role in the terms
and conditions of Plaintiff’s employment. It bears emphasis that the district court correctly found
that Plaintiff’s deprivation of access to Dealertrack was not an adverse employment action. (A85).
10
  Notably, this allegation gives rise to the inference that customers were kept waiting prior to
Plaintiff’s pregnancy.

                                                7
      On November 23, 2018, Plaintiff learned that she was pregnant and informed

Thanwalla, Guzman, and several other co-workers of her pregnancy on December

1, 2018. (A44-45). Meanwhile, Thanwalla went on vacation in early December and

returned to work on or about January 9, 2019. (A45).

      Based on her complaint allegations, after Plaintiff announced her pregnancy,

her wait times doubled or tripled to forty (40) minutes or sixty (60) minutes,

respectively, because Guzman purportedly made her wait, whereas prior to that time,

her wait times were slightly shorter than everyone else’s wait time, as she had access

to the Dealertrack system which other salespersons did not have (A45). Although

Plaintiff concludes that her wait time was longer than other salespersons, she

identifies no predicate facts upon which this conclusion is based.11 Indeed, in

response to Plaintiff’s complaint to Guzman about the long wait times, he responded

that everybody had to wait, or that the process took time. (A46) (emphasis added).

      As a result of the increased wait times, Plaintiff claims that customers would

walk out on her and she was unable to sell vehicles so as to qualify for any “bonus.”

(A45-46).


11
   The unsupported suggestion that finance information as to potential customers handled by
Plaintiff, alone, would be delayed for twenty or forty minutes is, itself, preposterous, and there are,
unsurprisingly, no predicate facts to support such a claim. For instance, the Complaint is devoid
of allegations that Plaintiff witnessed a single other salesperson request finance information after
her and receive such information before her. Much less, she fails to allege multiple instances of
this occurring. Rather, her naked conclusory allegation that she had to wait longer than others is a
conclusion without any predicate facts supporting it, which is precisely the type of allegation that
must be disregarded by a court reviewing the complaint for its facial sufficiency.

                                                  8
      Crucially, Plaintiff concedes her bonus is based solely on the number of cars

sold. (A46). As such, it is not discretionary.

      In contrast to herself, Plaintiff alleges that other salespersons who were not

pregnant waited only about twenty (20) minutes.12 (A46).

      When Thanwalla returned from vacation on January 10, 2019, Plaintiff

complained to him about Guzman’s conduct but Thanwalla did nothing. (A46).

Thus, four days later on January 14, 2019, Plaintiff voluntarily quit. (A46).

      There were no other pregnant employees at the dealership (A47).

                          SUMMARY OF THE ARGUMENT

       Plaintiff fails to identify an adverse employment action such that she could

state a claim for relief under Title VII. The increased waiting times, alone, are too

speculative to give rise to an adverse employment action – let alone an inference that

it arose under circumstances giving rise to an inference of discrimination – because

a customer could decide not to purchase a vehicle for any number of reasons after

receiving numbers from the Finance Department.




12
   These allegations conflict with Plaintiff’s earlier allegation that Guzman, whose responsibility
was to perform the functions of the Finance Department, frequently kept customers waiting longer
than necessary such that Plaintiff was given special access to Dealertrack prior to her pregnancy.
(A44). In other words, if Guzman generally took twenty (20) minutes to provide all other
salespeople numbers, and they were able to make sales because their customers would not walk
out, then Plaintiff’s earlier allegation that Guzman frequently kept customers waiting longer than
necessary such that he created a poor impression makes it implausible that Guzman made Plaintiff
wait longer than necessary after her pregnancy any more than he did prior to her pregnancy.

                                                9
      In addition, as a matter of common sense, it is generally known that a vehicle

purchase typically takes hours to complete and being forced to wait longer than

twenty (20) minutes merely to obtain numbers from the Finance Department, alone,

is too speculative to constitute adverse action.

      Although the district court found that a resultant decrease in take-home pay

can constitute an adverse employment action, its holding relies on cases dealing with

discretionary bonuses, whereas here, Plaintiff fails to plead that her salary was

reduced, and her “bonuses” were not discretionary because Plaintiff was paid solely

based on the volume of vehicles sold with respect to her “bonus,” and such a bonus

is not discretionary.

                                   ARGUMENT

                    APPELLATE STANDARD OF REVIEW

      In reviewing a Rule 12(b)(6) dismissal, the Second Circuit must accept as true

all non-conclusory factual allegations in the complaint and draw all reasonable

inferences in the Plaintiff’s favor. See, e.g., Rothstein v. UBS AG, 708 F.3d 82, 94

(2d Cir. 2013); see also Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (“When there

are well-pleaded factual allegations, a court should assume their veracity and then

determine whether they plausibly give rise to an entitlement to relief”).

      Further, the Second Circuit must consider the complaint in its entirety, as well

as other sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to


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dismiss, in particular, documents incorporated into the complaint by reference, and

matters of which a court may take judicial notice. See Tellabs, Inc. v. Makor Issues

& Rights, Ltd., 551 U.S. 308, 322 (2007) (citing 5B C. Wright & A. Miller, Federal

Practice and Procedure § 1357 (3d ed. 2004 & Supp. 2007)). If the facts alleged are

ambiguous, the applicable substantive law defines the range of inferences that are

permissible. See, e.g., Iqbal, 556 U.S. at 675 (“In Twombly, [550 U.S.] at 553-554

... the Court found it necessary first to discuss the antitrust principles implicated by

the complaint”). Accordingly, the Second Circuit should “begin by taking note of

the elements a plaintiff must plead to state a claim ....” See Id.

      “[T]o defeat a motion to dismiss ... in a Title VII discrimination case, a

plaintiff must plausibly allege that (1) the employer took adverse action against him,

and (2) [her] … sex … was a motivating factor in the employment decision.” See

Boyar v. Yellen, 21-507, 2022 WL 120356, at *2 (2d Cir. Jan. 13, 2022) (citing Vega

v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 87 (2d Cir. 2015)).

      An adverse action must be “more disruptive than a mere inconvenience or an

alteration of job responsibilities.” See Reyes v. Westchester County Health Care

Corp., 21-0410, 2021 WL 4944285, at *2 (2d Cir. Oct. 25, 2021), cert. denied, 212

L. Ed. 2d 579 (Apr. 18, 2022) (citation omitted).

      To be sure, “at the initial stage of the litigation” in a Title VII case, “the

plaintiff does not need substantial evidence of discriminatory intent.” Id. Instead, the


                                           11
plaintiff “need only give plausible support to a minimal inference of discriminatory

motivation.” See Bockus v. Maple Pro, Inc., 850 Fed. Appx. 48, 50 (2d Cir. 2021)

(unpublished) (citations omitted). However, even under this “minimal burden,” the

plaintiff must allege sufficient allegations to “nudge[ ] [his] claims across the line

from conceivable to plausible.”13 Id.

       With respect to adverse employment actions, “subjective, personal

disappointments do not meet the objective indicia of an adverse employment

action.” See De Jesus-Hall v. New York Unified Ct. System, 856 Fed. Appx. 328,

330 (2d Cir. 2021) (unpublished). An actionable adverse employment action is a

“‘materially adverse change’ in the terms and conditions of employment.” See

Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229, 238 (2d Cir. 2007) (quoting

Galabya v. N.Y.C. Bd. of Educ., 202 F.3d 636, 640 (2d Cir. 2000)).

       “Examples of materially adverse changes include termination of employment,

a demotion evidenced by a decrease in wage or salary, a less distinguished title, a




13
  For decades, Title VII claims – just like all other claims – were subject to a plaintiff-friendly
notice pleading standard. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002). That
changed with the Supreme Court's announcement of the plausibility pleading standard in Twombly
and Iqbal. For better or for worse, that standard made it harder for all plaintiffs, not just Title VII
plaintiffs, to state a claim for relief. Although one can surely debate the merits of this approach,
neither the Supreme Court nor this Court has ever suggested that Title VII claims are somehow
exempt from the plausibility standard. See Mandala v. NTT Data, Inc., 988 F.3d 664, 669 (2d Cir.
2021) (citing Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 87 (2d Cir. 2015) (applying
the plausibility standard to a Title VII disparate treatment claim); Littlejohn v. City of New York,
795 F.3d 297, 311 (2d Cir. 2015)

                                                 12
material loss of benefits, significantly diminished material responsibilities, or other

indices unique to a particular situation.” See Vega, 801 F.3d at 85

                                      POINT I

                     PLAINTIFF FAILED TO ALLEGE AN
                     ADVERSE EMPLOYMENT ACTION

      Plaintiff alleges that Guzman began to treat her differently once he learned of

her pregnancy by making her wait longer than other salespersons, who were not

pregnant, to receive numbers from the Finance Department to assist salespersons in

selling vehicles to customers. She specifically alleges that she was forced to wait

two to three times longer to obtain numbers, and that prospective customers would

leave in frustration without purchasing a vehicle from her due to Guzman’s

“sabotage.” In essence, Plaintiff is alleging that Guzman’s inefficiencies

(something she also complained of prior to her pregnancy) constituted an adverse

employment action. However, poor workplace support or workforce efficiencies do

not constitute adverse employment decisions as a matter of law, but rather, an

adverse employment action must be more than trivial, insubstantial, or petty to be

actionable. See Alvarado v. United Hospice, Inc., 20-CIV.-10790 (KMK), 2022 WL

4485379, at *14 (S.D.N.Y. Sept. 27, 2022); see also Costello v. N.Y. State Nurses

Ass’n, 783 F. Supp. 2d 656, 677–78 (S.D.N.Y. 2011) (explaining that “failing to

provide [the plaintiff] with necessary information and/or support, thereby ‘setting

her up to fail,’ “did not constitute an adverse employment action); Paul v.

                                          13
Postgraduate Ctr. for Mental Health, 97 F. Supp. 3d 141, 190 (E.D.N.Y. 2015)

((“[The] [p]laintiff’s complaint that he should receive more pay to compensate him

for having more assignments is an employment-related grievance amounting to

dissatisfaction with his working conditions that cannot qualify as an adverse

employment action”).

      The plaintiff in Costello alleged a whole host of issues in addition to another

employee’s failure to provide necessary information and/or support to help her

succeed. See Costello, 783 F. Supp. 2d at 677-78. For example, in Costello, the

plaintiff claimed that she was: (i) denied a request for a hotel overnight stay on

February 11, 2008; (ii) sent to an assignment in Buffalo and that others outside of

her protected class were generally given preferential treatment with respect to work

assignments; (iii) given negative performance evaluations; (iv) micromanaged with

respect to her schedule and denied a “work-at-home” day; (v) “overloaded” by her

employer to “cause her to be deficient in her job performance;” (vi) not provided

with necessary information and/or support, thereby “setting her up to fail” and

“engag[ed] in conduct designed to result in discipline;” and (vii) “inundate[d] …

with emails and questions regarding her work performance.” Id.

      The Costello court rejected plaintiff’s claims that those failures constituted

adverse employment decisions, reasoning that Costello “suffered no demotion,

material loss of benefits, or significantly diminished material responsibilities.” Id.


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       The facts here are even more compelling than in Costello to justify dismissal

for failure to state a claim. Here, as in Costello, Plaintiff alleges that she was

discriminated against because another employee failed to provide her with the

information and support she needed to succeed in selling vehicles. However, in this

case, Plaintiff essentially made the same complaint about Guzman prior to her

pregnancy. The essence of her complaint appears to be that she is upset that she no

longer had “special privileges” to access Dealertrack, herself, but no other

salesperson had that privilege.14 Clearly, there are a host of factors that go into selling

a car. It would be pure speculation to conclude that waiting for finance information,

which all salespersons had to do, caused a sale not to be consummated, as opposed

to other factors, such as the salesperson’s ability to keep their potential customers

interested or engaged.

       In any event, as the Court in Costello held, “none of these alleged actions

qualify as adverse employment actions.” Id. at 678.

       Here, too, a workplace inefficiency, such as an increased waiting time for

finance information, cannot constitute an adverse employment action as a matter of

law. If it did, business would be bogged down with endless claims of adverse



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  For this reason, the court below found that revoking her access to Dealertrack was not an adverse
employment action. (A85) (“Plaintiff’s allegations that she was deprived access to the Dealertrack
program and “could no longer run customer credit scores or pre-fill financing applications” are not
enough to constitute adverse action because as Plaintiff herself described, she was given unique
access and received a benefit that none of her colleagues received”).

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employment decisions based on real or imagined workplace slights. Accordingly,

here, Plaintiff’s Title VII claims must be dismissed.

      Similarly, other courts have held that another employee’s refusal to work with

a plaintiff does not constitute an adverse employment action. See Glascoe v.

Solomon, No. 18-CIV.-8284 (AT), 2020 WL 1272120, at *7 (S.D.N.Y. Mar. 17,

2020) (“Although she claims that Smith ‘refused to work with’ her, … Smith’s

conduct cannot be characterized as behavior that was “more disruptive than a mere

inconvenience or alteration of job responsibilities’ … Moreover, the allegation that

there was ‘tension’ between Smith and Plaintiff also fails to satisfy the adverse

employment action element because it typifies the ‘trivial harms’ and ‘petty slights

or minor annoyances that often take place at work.’”) (citing White v. Andy Frain

Servs., Inc., 629 Fed. Appx. 131, 133 (2d Cir. 2015) (internal quotation marks and

citation omitted); see also Dimitracopoulos v. City of New York, 26 F. Supp. 3d

200, 213 (E.D.N.Y. 2014) (“Scheduling … issues … are generally not considered

materially adverse employment actions”).

      Here, Plaintiff’s allegations are similar to those in Glascoe.

      The wait times for finance information due to Guzman supposed response

time to Plaintiff were nothing more than mere inconvenience and she made the same

complaint, i.e., that Guzman was slow to provide numbers, before her pregnancy.

Moreover, Guzman explained it takes time to provide numbers and that everybody


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had to wait when Plaintiff complained about the wait time.                       These facts are

quintessential “trivial harms, petty slights, and minor annoyances.”

          Moreover, Plaintiff did not plausibly plead that, but for the wait times, she

would not suffer a decrease in her take home pay. Plaintiff was a commissioned

salesperson who was paid primarily based on the number of vehicles she sold in

addition to a weekly draw. In her complaint, she specifically alleges that she earned

a weekly salary of $300.00, a “bonus” or commission of $150.00 per vehicle sold,

and a five percent (5%) additional commission for vehicles that “had a price in

excess of [$3,500.00] in commission.” (A43). She alleged, further, that it was

generally necessary for customers to wait for the Finance Department in order to sell

vehicles,15 although long wait times left a bad impression on customers. (A44).

          Plaintiff alleged that Guzman “increased” her waiting times following her

pregnancy announcement, and that she was unable to sell vehicles because

customers left as they did not want to wait for the Finance Department. (A45-46).

          As a result, Plaintiff asserts she did not earn a $150.00 “bonus” because she

did not sell the vehicle, the sale of which is explicitly required to earn the

commission. As set forth below, this resultant decrease in her pay does not constitute

an adverse employment action. This is so for several reasons.




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     At least, for the majority of customers who require bank financing to purchase a vehicle.

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      First, Plaintiff’s claim that she lost customers due to longer wait times is too

speculative, as customers could have decided not to purchase a vehicle for any

number of reasons, including because the numbers provided were not satisfactory.

      Second, Plaintiff fails to plead that her weekly salary of $300.00 was

decreased, or that her $150.00 bonus per vehicle sold was decreased to some amount

lower than $150.00. Thus, if she sold a vehicle, she would still earn $150.00, just

like she did before her pregnancy; conversely, if she failed to sell a vehicle, for

whatever reason, she would not get $150.00, just like she did before her pregnancy.

See, e.g., Jones v. SmithKline Beecham Corp., 309 F. Supp. 2d 343 (N.D.N.Y. 2004)

(holding that employer’s placement of employee in plan in which 80% of her

pharmaceutical and healthcare sales would be to hospitals and 20% would be to non-

institutional buyers, such as private physicians, was not adverse employment action

within meaning of Title VII). Whereas a changed commission plan like in Jones is

not considered an adverse employment action, Plaintiff fails to allege an adverse

employment action where her pay plan remained the same.

      Third, despite Plaintiff’s allegation that she earned less in take home pay as a

result of increased waiting times, she has not alleged – nor can she plausibly allege

– that the sole reason she earned less in commissions was due to Guzman requiring

her to wait longer for numbers from the Finance Department, rather than other

factors, such as skill, customer service, or plain luck, all of which equally may have


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impacted her ability to consummate sales. See Culmone-Simeti v. New York City

Dept. of Educ., No. 17-CIV.-2313 (ER), 2019 WL 2409736, at *5 (S.D.N.Y. June

7, 2019) (“Finally, [the plaintiff] states that she received an overall ineffective rating

because of age discrimination, which denied her the right to earn supplemental

income. … Mere negative performance evaluations that resulted in losing an

opportunity to earn supplemental income do not constitute adverse employment

actions where they were not accompanied by negative consequences to the

conditions of the plaintiff’s employment … Here, the ineffective rating did not

impact the terms and conditions of her employment as a teacher.”) (citing Spaulding

v. N.Y.C. Dep’t of Educ., No. 12-CIV.-3041 (KAM) (VMS), 2015 WL 12645530,

at *36–37 (E.D.N.Y. Feb. 19, 2015)).

          Moreover, this Court previously dealt with similar cases. In Kairam v. W.

Side GI, LLC,16 the plaintiff alleged that the defendants refused to refer patients to

her because of her protected class.

          When the plaintiff in Kairam asked during an all-doctors meeting why

defendants had not done so, they responded that it was “a boutique practice” and that

those patients wanted to see a doctor who “looks like” the defendant doctor, a white

male.




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     See 793 Fed. Appx. 23, 27 (2d Cir. 2019) (unpublished).

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          Although this Court found that defendants’ alleged comment—that plaintiff

was not referred patients because she did not “look like” a white male—is sufficient

at the pleading stage to support a reasonable inference of discriminatory motivation,

it affirmed the district court’s conclusion that plaintiff failed to allege an adverse

employment action because the complaint failed to allege that defendants’ refusal to

refer patients affected her compensation or that it significantly diminished her

responsibilities.

          While the plaintiff there argued that the lack of referred patients deprived her

of income from procedure fees, the complaint did not contain any allegation to that

effect.

          Based on the foregoing, this Court found in Kairam that, although a

discriminatory motive has been pled, the Title VII claim was properly dismissed for

failure to allege an adverse employment action.

          This Court should do the exact same thing here.

          To the extent that any discriminatory motive can be inferred from allegations

that Guzman supposedly forced Plaintiff to wait twenty or forty minutes longer than

other salespersons for finance information,17 there was no adverse employment


17
  Of course, it would be pure speculation and impossible for Plaintiff to establish how many
potential customers would have consummated auto sales but for having to wait an additional
twenty or forty minutes. Moreover, as argued in Point II, infra, this inference cannot be made
because Plaintiff herself pleads that – prior to her pregnancy – Guzman struggled to timely provide
numbers from the Finance Department, forcing customers to wait, and leaving a bad impression.
(A43-44).

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action as Plaintiff still would have earned $300.00 had she sold a vehicle. Merely

because Plaintiff failed to sell the vehicle, for whatever reason, to earn a “bonus”

does not give rise to an adverse employment action.

       Indeed, the facts alleged in the complaint here would not give rise to an

adverse employment action because a customer could decide not to purchase a

vehicle upon receiving numbers from the Finance Department, or for any other

number of reasons. As such, Plaintiff’s allegations are too speculative to state a

claim for relief. See Malone v. N.Y. Pressman’s Union No. 2, No. 07-CIV.-9583

(LTS) (GWG), 2011 WL 2150551, at *7 (S.D.N.Y. May 31, 2011) (“The elimination

of speculative, potential future opportunities is insufficient to establish an adverse

employment action”).

       The district court reached a different result below because it relied on Davis

and McKenna to hold that a resultant decrease in take home pay can constitute an

adverse employment action.

       But this is not so, for the reasons set forth in Kairam, and because the bonuses

denied in Davis and McKenna were discretionary, while the bonus here is not.18

       In Davis, this Court held that an employer’s discretion to withhold or reduce

a bonus does not entitle the employer to allocate the bonus on the basis of prohibited




 Indeed, Plaintiff’s “bonus” is absolute; if she sells a vehicle, she received the commission. There
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was thus no room for discrimination with respect to her pay.

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discrimination. See 804 F.3d at 236 (emphasis added). But the complaint here does

not allege the exercise of any such discretion; Davis is therefore inapposite.

      Similarly, in McKenna, according to the terms of her offer letter, the plaintiff

there was eligible “to receive a discretionary bonus …” which was later denied. See

1:21-CIV.-941 (DLC), 2022 WL 2986588, at *9 (S.D.N.Y. July 28, 2022).

      Again, unlike in Davis and McKenna, there is no discretion as to whether

Plaintiff gets her bonus. If she sold the vehicle, she received the bonus; if she failed

to sell the vehicle for any reason whatsoever, she does not. Based on the foregoing,

it is impossible for Plaintiff to plausibly allege that she suffered a materially adverse

employment action because her job consists of dealing with customers who may

refuse to purchase a vehicle for any number of reasons.

      Accordingly, Plaintiff fails to plead an adverse employment action sufficient

to state a claim under Title VII.




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                                     POINT II

                  THE COMPLAINT FAILS TO PLEAD
                GUZMAN HAD DISCRIMINATORY INTENT

      A plaintiff must allege specific facts that would, if proved, plausibly establish

a causal link between the plaintiff’s protected characteristic and the alleged adverse

action. See Gong v. City University of New York, 846 Fed. Appx. 6, 8 (2d Cir. 2021)

(affirming 12(b)(6) dismissal where plaintiff did not connect adverse employment

actions to her protected class and therefore failed “to provide a contextual basis for

inferring discrimination”); see also Amaya v. Ballyshear LLC, 295 F. Supp. 3d 204,

220 (E.D.N.Y. 2018) (dismissing Title VII claim because “[n]aked assertions of ...

discrimination without any specific factual allegation of a causal link between

conduct and the protected class too conclusory to withstand a motion to dismiss”).

      The Second Circuit has instructed that this link may be inferred from (among

other things) “invidious comments” about people in the protected group and “the

sequence of events leading to the plaintiff’s discharge.” See Castillo v. Seviroli

Foods, Inc., No.: 21-CIV.-5 (EK) (JMW), 2022 WL 889014, at *4 (E.D.N.Y. Mar.

25, 2022) (citing Littlejohn, 795 F.3d at 312).

      Here, the complaint fails to allege any facts that can allow for the inference

that Guzman discriminated against Plaintiff on account of her pregnancy.

      Other than the fact that she was the only pregnant person present in the

workplace who had to wait longer than everyone else for Guzman to provide

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numbers from the Finance Department, there is nothing to support any

discriminatory animus by Guzman or any of the other Defendants.

      First, Plaintiff does not plead that Guzman made any invidious comments

about her or the pregnancy, and instead pleads that Guzman rationally explained that

everybody had to wait, and/or that the process took time. (A46).

      Second, Plaintiff does not allege any incident that occurred between her and

Guzman that would give rise to an inference that Guzman had a problem with

Plaintiff’s pregnancy.    The complaint instead apparently relies on temporal

proximity, alone, to establish that Guzman made Plaintiff wait longer than all other

salespersons because she just announced her pregnancy. This inference is nothing

more than a leap in logic that defies credulity because any number of reasons could

exist for Guzman’s failure to provide numbers to Plaintiff more promptly. Crucially,

Plaintiff specifically pleads that since August 2018 – before her pregnancy –

Guzman was slow in getting numbers for customers in the Finance Department, and

that this led to poor impressions with customers. (A44).

      Third, Plaintiff’s claim of discriminatory treatment is belied by her admission

that she was given “special trust” to access Dealertrack in order to make sales, a

benefit that no other salesperson received.

      Taken together, these allegations do not support an inference of

discrimination. Indeed, permitting Plaintiff to proceed on her claims due to the wait


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times on the grounds that they affected her sales would have been no different than

permitting her to do so due to her revoked access to Dealertrack, which the court

below found did not constitute an adverse employment action. (A85). Again, failing

to provide an employee with necessary information and/or support does not

constitute an adverse employment action. See Costello, 783 F. Supp. 2d at 677–78.

      Accordingly, the complaint should be dismissed for failure to state a claim.

                                     POINT III

                   APPELLANT MUST BE DENIED LEAVE
                      TO AMEND THE COMPLAINT

      It is anticipated that Appellant will argue that she should be given leave to

amend in the event of dismissal, and that even if the basis for dismissing the

Complaint was legitimate, she should nonetheless be given some kind of

“meaningful opportunity to further amend.”

      But here, the Plaintiff has already been given many opportunities to amend

the deficient pleadings. Defendants argued below that leave to replead must be

denied because Plaintiff failed to avail herself of amending the complaint in response

to Defendants’ letter motion for a pre-motion conference in anticipation of their

motion to dismiss. (A76-77). Further, amending the complaint would be futile, as

the alleged adverse employment actions are not actionable for the reasons above.




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      Leave to amend may be denied “for good reason, including futility, bad faith,

undue delay, or undue prejudice to the opposing party.” See TechnoMarine SA v.

Giftports, Inc., 758 F.3d 493, 505 (2d Cir. 2014) (quotation marks omitted).

      Here, after Appellant had been given an opportunity to amend the complaint

following Appellee’s letter motion for a pre-motion conference in anticipation of a

motion to dismiss, she failed to assert then and there that an amendment was

requested, let alone necessary. (A1-6).

      Further, a district court is not required to grant leave to amend when it grants

a motion to dismiss based on pleading deficiencies, as it did here. See Porat v.

Lincoln Towers Cmty. Ass’n, 464 F.3d 274, 276 (2d Cir. 2006); see also City of

Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173, 188 (2d Cir.

2014). Finally, because – as set forth above – the pleading deficiencies complained

of were set forth in Appellee’s letter motion for a pre-motion conference in

anticipation of their motion to dismiss, they were not unforeseen such that leave

should be granted once more to amend. See Banco Safra S.A.-Cayman Is. Branch v

Samarco Mineracao S.A., No. 19-3976-CV, 2021 WL 825743, at *5 (2d Cir. Mar.

4, 2021) (“And Banco Safra had ample opportunity to amend its complaint to cure

the … deficiencies. It is thus “unlikely that the deficiencies ... were unforeseen”)

(citing City of Pontiac Policemen’s & Firemen’s Ret. Sys., 752 F.3d at 188).

      Accordingly, granting leave to amend would be futile and must be denied.


                                          26
                                 CONCLUSION

      For all of the foregoing reasons, the Appellant’s appeal must be granted on

the ground that the Complaint fails to state a claim upon which relief can be granted

under Title VII. This Court must therefore reverse the decision of the Hon. Hector

Gonzalez, U.S.D.J. and dismiss the complaint.

Dated:       Lake Success, New York
             December 14, 2022

                                              Respectfully submitted,

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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 25(a)(6)

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                                             Respectfully submitted,

                                             /s/Emanuel Kataev, Esq.
                                             Attorney

Dated at Lake Success, N.Y.
This 14th day of December 2022




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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 14, 2022, I electronically filed the foregoing
with the Clerk of the Court for the United States Court of Appeals for the Second
Circuit by using the CM/ECF system. All participants in the case are registered
CM/ECF users and will be served by the appellate CM/ECF system.

                                              Respectfully submitted,

                                              /s/Emanuel Kataev, Esq.
                                              Attorney

Dated at Lake Success, N.Y.
This 14th day of December 2022




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